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EXHIBIT B
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4
2015-2016

 
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Introduction
___L. The Mission of
S Article 1 1

Mission Statement
‘Aticle 2
- Prayer Life

a iL Tutor Job Expectations
TL. Employees Policies
- Article 1 L :
© Organizational Structu ‘

 

 

  
 
 
  

 

 

 

 
 
 
  
 
  
 
 
 
 
 
  

 

~~ Duties and Responsibil
Article2
_. » Employment Categories _
~~ Article 3” :
Non-center Employment
Article 4
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Article 5
Termination of Employment

 

 

 

 
 
  
 
  
 
 
  
 

 

_ JV. Payroll and Benefit Plan Summary
Article 1
Sick Pay
Article 2
Absence and Tardiness
Article 3

Jury Duty

 
 
 
 
 
 
  

 

 

 

 

Reimbursement of Expenses

    

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- Disciplinary System
Employee Evaluations
_ Article 3
~~. Confidentiality
Confidentiality between Employer :
Confidentiality of RCA Proprietary fo
Article 4
Dress Code
All Personnel
Article 5
Emergency Closings
Article 6
Fraternization Policy
Article 7
Good Housekeeping
5 _ Grievances
Article9

 

 

 

oO! Ministerin. to You

    

 

¥y and Wor Schedule

Security
Article:16

 

  

2015-2016

 
 
 
  
  
 
 
 
 
 
 
 
 
 
 
 
  
       
  
   
   
 
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Sexual and Other Uni
Article 17 =
Smoking Policy

 

 
   
    
   

 

Article 18
: Article

 

 

 

 

 

 

 

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Introduct iT

 

ministration. It should be further
S set forth i in this

 

the. Catholic tradition aon a 501(c)(3) no profit c
employment opportunities or practices on the bas

Students learn not only by what is taught, bi

how they act. In accepting a position in our
supports the Roman Catholic Church and its t
teachings (including, but not limited to, cohabi
of ‘marriage, marrying outside of the Church
leaving the Catholic faith, public support of ab

 

 

dishonest or scandalous public behavior) ma
Disclaimer

This personnel policy Handbook is the property of Re
be issued a copy of the Handbook as required reading
continuation of employment. Current editions of | !

a any cuca you may have. All information in this Handb

 

2015-2016

 
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Article 1 1

Mission Statement 2

 

 

nment and hig thly dedic

  

    
   

 

  

Form classically educated young t men and women a the unbroken tr ditio a.
iples of Hiocion, and the

and teaching of the Roman Catholic Church; the Ignatian Pri ]
_ Spiritual Exercises of Saint Tgnatius wit ose that each student will:
e Achieve salvation
_ Deepen in intellect and character
Grow spiritually
Develop the ability to win other
Perceive and elect his or her Go

 

 

  

   
    
 
    
   
 
 
 
 
  
      
  
 
   
   
  

 

  
 

This will be accomplished by developing the wh s or her capacities through:
Special emphasis on excellent standard
- Discipline

Memory work

Oral presentation

~ Reception of the Sacraments

Daily application of the Golden Rule
Exercise of the virtues of hospitality,

 

courtesy, and goo

 

Article 2.

Prayer Life
The center day bes
Easter Season, f id mi a
The entire cent y ends € ach day with a prayer. The t of Penance is prov. ded
frequently. , eee 2

 

 

2015-2016
 

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utor J ob Poe

 
  
  
 
 
  
 
 
    
 

2. pail with the sdininistry
fosters mutual respect. Tuto
their physical, mental, emotional, “econo
They should also establish friendly and cc

of the staff. Familiarity with the miss

“needed so as to be able to put these in
professional relationship with the parent

   

lan. in his/her classroom
, bargaining, and corporal

responsible to initiate and utilize a
according to the needs of the students.

    
   
 

 

 

 

 

- students at Regina Caeli Academy.

 
   
 
  

Maintain neat, orderly, and organizec
oversee ‘the general neatness of the I

and erasers, keeping the shelves
responsibility. of the tutor to. report

2015-2016
Case 2:16-cv-10304-AJT-RSW ECF No. 43-3, PagelD.426 Filed 05/11/16 Page 10 of 35

 

   
  

    

_ Assignments should be clea t;
ed tests

Provide for appropriate and accurate student evaluat

   

 

formation received from
ses and “indications of

 

~ behavioral problems.

10. Assume designated responsibilitie
supervision of children, and proper usa
supervising the children, especially du
the tutor may be liable/accountable in th

 

 

S 13. Remove all items in Staff folders at th

 

2015-2016

   
   
 
  
 
  
  
    
        

 
Case 2:

  

  
 

Article 1

rohy headed by the Board of Directors. Th

 

  
 

The Center Coordinators of Operations re

RCA’
ensure the stability necessary to effectively ma
on a 3-tier Center start-up and maturation model

Iffice Manager.

and report directly to the Director of Educ:

Z Aspirant Center Characteristics

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emy through a streamlined
ctor reports direc
perations, and the (

$ organization exists to promote th mission ¢

  
   

Board
ting to her are the Director of Education, th

  
    
  

 

and Staff of each Center

 

     
  

of Operations. ..

 

*s honed and well-defined policies, pro

   

dividual Centers op I

  
 
 
 

 

 

° Novie » Center Characteristics

  
  
  
 
 
 
 
  
 

Typically the first 1- 2 years of operations

Emphasis on spiritual formation of parents, d
Learning and honing the classical education mo
Developing family and Center fundraising :
Corporate staff allocating more support time -
Financial. support as needed

 

 

 

 

  

Eligibility. for permanent location

 

2015-2016

 
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classifications so that the

Full-Time Administration:
These positions of Director (Executive, Operations, Office Manager and all full-
time employees may require year-round work and h _ All Administration 1 is
expected to participate in all extra-curricular even
Friday and be responded to no more than 24 busir

and weekends. Email must be checked the nigh

 

 

Center Administration:
The positions of Center Coordinator (Educati
training until the end of May. There will also
will be required: to conduet interviews and as:

extra-curricular ¢
and be reopens

 

44
2015-2016
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code each ac ademy day.

 
  
 
 
  
     
  

, aS these are positions that could
ced to do extra-curricular activities

Article 3 ;

Non-center Employment
After-center employment of all sta _Tnember:
meetings, in-service programs, or other required
or non-RCA business during RCA work hours... U
hours determined by the employee’s contract and

  
 

mnay not conduct personal
not permitted during the |
RCA days. Please giv

  
    
  
 
   
   
  
 
 
  
 

the office number to family members to use in ca:
Article 4

Personnel File

other documents pertinent to the staff membe -T
only available to the administrator, tutor (upo
Tutors should notify the administrator whene

 

 

Article 5"

be released.

  

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V. ayroll and Benefit

  

Sick Pay LS :
Both salaried and non-salaried employees a are eligibl for

 

will not be iid unused sick leave.

Article 2

Absence and Tardiness .
from work or work days.
illness, a $7 °: 00 fee wil

  

(open houses and tutor work days) and such abse
deducted from the employee’s next paycheck or,

 

working hours, employees should provide adm

    

notice as possi and receive approval prior

 

 

Article 3

 

Jur y Duty

2015-2016

 
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Article 4)

 

 

Funeral Leave
Medical Leave/Disability
fay Leave/Matemnity Lea

 

 

employees who are temporarily unable to work due to
employees are eligible to request medical leave as des
make requests for medical leave to administration or
foreseeable events.

A healt fe provider's s statement must be submi

 

 

 

2015-2016

 
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ent, consideratio WI
restricted to. a

 
  
   
 
  

from leave. However, when a medical leave end,
reinstate the employee to the same position, if
which the employee i is qualified, if possible. If an

 

resign employment

 

 

4
2015-2016

 
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Person al. or P ofessional Ls

 

requested to ede the center with at least two (
employee intends to return to work. The Academ,

 
 

available, or to an equivalent position for which tt
employee fails to report to work promptly at the e
that the we employee has resigned.

management.
absence, with:
emergency. 22s

Article 5 a

Pay Periods

 
 
 
 
   
 
 
  
   
    

 

 

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pr or to this holiday or week

   
  

Payrol oll Deductions
AS required by law, the Acac

      

ist 1 make certain dedu
for such: items a federal income tax, tate incom
i sability insurance. =

ns from : an employee Ss paycheck

     
 
  
   
 
  
    
 
 

 

Any questions that an employee may have ab:
addressed to administration or management a

Article 7

Reimbursement of Expenses
When conditions require that an employee work at
overnight, the Academy will reimburse reasonable I

 

 

 
   
    

along with a completed reimbursement form. No charges 6
reimbursed except the actual lodging plus applicable taxes

    

reimburseme rm to receive reimbursement.

 

 

2015-2016

 
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A to be deduoted, |

incr ses in n Social Security contributions which are req’

 

 

 

 

   

2015-2016
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Vv. Faculty Development and Supervision _ :

     
 
 
  
  
 
 
   
   
   
   
 
  
  
 

ings, In-services, and Pro
3. Classroom Observations (formal and iform
4. A Yearly Summative Evaluation
5. Spiritual Formation

 

Article 1
Classroom Observations

performance. In the course of the center year, c
announced and unannounced) will be made by’

encouraged to initiate conferences with the a
find ways to improve and perfect classroom i

Nursery and
the Thanks

Article 2

Formal] Summative Evaluation :
1, ‘Annually, or more frequently : as necessary or desir

2015-2016
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verall evaluation of tutoring .

performance i is based on formal and informal observati by the administration, as well.
z the year, and observed interactions of th tuto

 

 

and has had the opportunity to discuss it with the administrator. It signifies neither agreement nor
disagreement with the evaluation. The tutor has the right te eva
response will be filed in the tutor’s personnel. fi

   

   

 

 

 

21
2015-2016

 
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Article 1

 

Biephone: numbers.

Article 2

Conduct and Behavior

All employees are expected to perform their d
professional and courteous manner at all times. I
performance and behavior may result in a letter
personnel file, disciplinary action, or terminatio1

Reasons for disciplinary action or termination 0

 

~ documents.
9. Gambling on center premises.

10. Unexcused absenteeism or tardiness.
11. Laziness or sleeping on the job.

 

VI. General Procedures and Policies

 

22
2015-2016

 

 
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of contracts.

Article 3

Confidentiality

 

 

rt the concern to

 

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Directors, administration, or management
family.

 

 

The area of confidentiality between employer and €
employment, status of probationary period, salary n
performance, content of personnel files, etc.

A student/parent asking to speak in confidence to
the law places on a tutor with regard to child abus
abuse. Severe penalties result for any failure to compl

Confidentiality between tutor and student/par at
records, contents of cumulative folders, tuitio
stated and understood that knowledge of thes:
the: administration andthe Board of Directors

While professiona
center/student/paren
always be motivated

 

 

 

 

2015-2016
Case 2:16-cv-10304-AJT-RSW ECF No. 43-3, PagelD.442 Filed 05/11/16 Page 26 of 35

      
 

 

     

[such information. . Employees it must.
out not limite to, RCA corporate _

  
     
 
    
   
 
 
 
  
 
  
   
 
  
 
  
    

the fore essent ial that all employe
maintain the confider lalit y.

> Steps to safegu
erials Melnding: B

  

   

       

     

 

 

icy, itis your
dresult in
breach

 

yment and/or legal

   

 

 

Article 4
Dress Code
Dress, grooming, and personal cleanliness sta
and affect the business image of the center. W
are required to present ourselves in the mann

rule, all employees are expected to wear prop
appearance. “Dress” rather than “casual” style

Each staff member working in grades Pre-K4 through

 

 

eet consisting of:

For Women: the white oxford shirt with the Ri
skirt that falls below the knee and black c dress

 

. Nursery Workers may wear a scrub shirt, mongrel by

characters or large logos.

All Personnel. .

 

 

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t pay for distasteful dress: “The

 

 

   

Admin nitration reserves the right to suspend any employee wit
ine duration of suspension. - -

 

 

     
  
   
     
 
  
 
  

 

center ¢ c osures.

sai 6

Fraternization Policy
Regina Caeli Academy maintains a policy that]
and students. Non-permissible fraternization i i
sexual, illegal, or age inappropriate nature, 1.¢
the administration of Regina Caeli Academy. T
behaviors, but also to the suggestion, threat, or :

tion between employees

 

 

 

 

     
   
  

 

center gidunds, but at any time or place. Normally, employe
center setting. Prior consultation with the admini tration she
student outside the center setting. oe

 

 

   
 
 

workspace and equipment, and to keep work areas is cle
the appearance of the facilities and provides a pate en

personal injuries.

   

2015-2016

 
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Gries neces -

‘employees a are encouraged to commun
(r inistration any grievance regarding pe

 

consideration of management, administratio

The proper channel of communication of griev.
supervisor. If the matter is not resolved to emplo:
brought to the attention of the manager or the admin:
assignment. If the matter is not resolved on this le
may request that it be brought to consideration of
Boards’ decision is final in settlement of grievance

    

 

 

ectors for resolution. The

Article 9

Guidelines for Ministering to Youth re
The following : are general principles to employ when working with children:
ly: Whenever possible, avoid accompan
them, try to have another adult prese
2. Avoid driving alone with a child on
(Note: ‘An obvious exception to the

Never invite a child into your home without ; n
6. Never discipline using physical force or deme:

 

27
2015-2016

 
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_~ situations you share with children. While children 1
_ from their friends, it has a different impact if itis.co

 

‘ Effective ministry requires that
adult, it is not appropriate to b
. If something strange, embart

ministry, report it to your s
they can begin investigative or remedial a

 

parents.
. Do not attempt counseling unless you ar
limitations. Avoid counseling in any sett

 

 

 

interaction.

Article 12

Phone Usage -
At NO time may cell phones be used during acade

 

Personal local phone calls may be made from the center
received while at work should be kept to a mi

 

in the case ofa an emergency. Personal long di

To assure effectivi

 

greeting and sped

Article 13

Punctuality a
Employees at

2015-2016

 
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The wise of portable heaters, burners, cand
with approval of the administration.

other equipment necessary for occupancy.

 

Supervision is required of all activities at the A
classroom, hall, and playground and all extra-cu
designated person in charge who is a responsible adult. T
remain with the group during the building use and is in ch

Article 15
Security : ces
It is the responsi eyery employee to ensure

taken, e.g., keepin
ensuring that

It is furthe
information,
information

“29
2015-2016

 
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eC 10me center, and: center Start Any information concerning 5 the
development : and operati I e programs, as well as any and all client lists, are confidential
materials/information belonging to Regina Caeli Academy and may not be shared beyond th
professigmal and egal scope of the Academy. ee = .

 

    
   
    
  
 
 
  
 
 
  
 
 
  
 
    
 
 

 

 

   

 

 

  

are they allowed to ae
A supervising adult is

keys. Students and friends are not allowed to
areas Tequiring supervision without the per:

    

Article 16

Sexual and Other Unlawful Harassment

 

of harassment on the basis of any condition 0: (
law. In addition, Regina Caeli Academy prohibits s sexi

Sexual harassment is defined as unwanted sextil advance
of a sexual nature. This definition includes many forms
based harassment of a person of the same sex a the ar:
sexual harassment examples:

1. Unwanted sexual advances;

  

 

 

 

notes, Git invitations:

2015-2016

 
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\

 

 

   
  
 
  
 

possible, your confidentiality and that of.
protected. When. the investigation is completed,
investigation.

  
 
 
 
   

Anyone engaging in sexual or other unlawful har

ubject to disciplinary action,
up to and including termination of employment. cl

Article 17

Smoking Policy

  
   
 
 
   

and work sites...

Article 18

  
  

Substance Abuse Pol

It is the policy of the Academy to maintain a drug free \

 

“341
2015-2016

 
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in ee person’ s body of rugs, inhala:
may. have been consumed.

policy.

Prescription drugs prescribed by a licensed
possessing them and over-the-counter medicatio
provided they are legally obtained and are not consu

appropriate medic
work, and, if so; if a

Article 19

Tools and.E
All tools and equipment belonging to the Academy at ar
business. Personal use of center tools and equipment i
the administration or management of the Acade: y an

  

vely for cente

 

2015-2016

 
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ble for any injury or damagi

Academy will in no way be respo {
nce upon such tools and equip

Iting from such use or any.
defects, malfunction, or lack of m SB

t

       

 

 

 

 

 

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My signature below indicates I have read and fully Punderstai he Personnel Po icy Handbook « of
Regina east Academy. Further, I: agree to abide by the Procedures s¢ set forth therein throughout °

 

 

 

     
    
  
 
   
  
  

 

 

 

Employee signature

 

 

 

Employee Printed Name

 

Date

 

 

 

PLEASE NOTE: |
This page is to be signed ivi

employee p

 

*Blectronic S nature i is included in link sent to emplo
terms of agreement and oath of fidelity.

 

4
2015-2016

 
